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                 Exhibit AB
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                                                                                 Jun 03 2024
                                                                           Date: _________________________

                                                                           KEVIN P. WEIMER , Clerk

                       IN THE UNITED STATES DISTRICT COURTBy: ____________________________
                                                              Kari Butler
                                                                    Deputy Clerk
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

    PAUL HESS and MATERIAL
    ANALYTICAL SERVICES, LLC,

              Movants,
                                                   CIVIL ACTION FILE NO.
         v.
                                                   1:24-CV-02195-MHC-WEJ
    AMERICAN INTERNATIONAL
    INDUSTRIES, et al.,

              Respondents.

                                             ORDER

              This matter is before the Court on a Motion to Quash Subpoena and for

    Protective Order [1] filed by Paul Hess and his employer, Material Analytical

    Services, LLC (“MAS”). For the reasons explained below, the Court DENIES

    these Motions.

    I.        BACKGROUND

              This matter arises out of an action filed in the Southern District of New York,

    Brian Joseph Gref v. American International Industries, et al., No. 1:20-CV-5589-

    GBD (S.D.N.Y.). In that underlying action, Mr. Gref alleges that he developed

    mesothelioma due to exposure to cosmetic talc products sold by defendants,
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    including exposure to “Clubman” brand talcum powder sold by American

    International Industries (“AII”). Movants Paul Hess and MAS are not parties to

    the Gref litigation. Mr. Hess is a microscopist employed by MAS who has not been

    disclosed as an expert in that underlying case. Instead, Mr. Gref retained and

    disclosed Dr. William Longo of MAS as an expert witness.

          AII served Mr. Hess with a deposition subpoena on April 2, 2024. (Movants’

    Ex. A [1-2].)1 Movants seek to quash the subpoena on the grounds that Dr. Longo’s

    opinions were disclosed in his expert reports; defendants took Dr. Longo’s

    deposition over the course of three days; and Mr. Hess has never testified in

    asbestos litigation for MAS, despite being employed by MAS for more than 30

    years, as “testifying was never a job responsibility for him.” (Movants’ Br. [1-1]

    5.) According to Dr. Longo, MAS scientists like Mr. Hess perform specialized

    tasks, which Dr. Longo reviews before forming his own conclusions. He also

    doublechecks his colleagues’ work and asserts that he personally ensured that Mr.

    Hess’s findings are accurate.      Dr. Longo also consults with Mr. Hess




          1
            The cover letter transmitting the subpoena to Mr. Hess makes no mention
    that he was tendered fees for one day’s attendance and mileage as required by Fed.
    R. Civ. P. 45(b)(1). Movants do not raise this as a defect with service of the
    subpoena.
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    contemporaneously during microscope analysis. (Id. at 5-6.) Movants contend that

    the scientists at MAS work collaboratively and rely upon each other’s work to

    complete projects. A collaborative approach is necessary as projects are often

    complex, span multiple scientific disciplines, and are time consuming. This makes

    it impractical, if not impossible, for one scientist to complete the work alone. (Id.

    at 7.) Movants contends that the subpoena served on Mr. Hess subjects him to

    undue burden and is unreasonable, oppressive, and unauthorized, because it is

    beyond the scope of discovery.2 (Id. at 10.)

          AII responds that for Dr. Longo to say he can recreate Mr. Hess’s work away

    from the microscope ignores his own limitations. Dr. Longo is not an expert in

    geology or polarized light microscopy; he is not the one who does the day-to-day

    analytical work where MAS claims to prove the existence of Calidria-like

    chrysotile in AII’s products; he did not complete the analysis he relies upon for his

    opinions concerning the “asbestos” content of Clubman Talc; he did not develop

    the reference standards used to prove the alleged existence of Calidria chrysotile in




          2
            Movants initially asserted that the subpoena was untimely because
    discovery has closed in the underlying matter. However, Respondents show that
    the Magistrate Judge stated in an Order dated April 24, 2024 that discovery has not
    closed. (See Order, filed as Resp. Ex. E [6-6] 7.)
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    cosmetic talc; he did not calibrate the equipment or prepare the samples of Clubman

    Talc; he did not perform any of the underlying calculations used to identify the

    mineral particles; and he does not have the firsthand experience of looking down

    the barrel of the microscope to identify mineral particles as “asbestos” in AII’s

    products. Instead, it was Mr. Hess alone who performed this work at MAS.

    (Resp.’s Br. [6] 7-8.) In sum, Mr. Hess’s analysis involves complex preparations,

    observations, and calculations related to the testing of Clubman Talc. His firsthand

    observations of the colors seen through a polarized light microscope determine the

    purported identification of “asbestos.” Because these observations are subjective

    and unrepeatable, no one can retroactively observe what Mr. Hess saw — not even

    Dr. Longo.

    II.   DISCUSSION

          Federal Rule of Civil Procedure 45 governs discovery of non-parties by

    subpoena. “The scope of information that may be sought via a Rule 45 subpoena

    is the same as the scope of discovery generally allowable pursuant to Rule 26(b).”

    KKMB, LLC v. Khader, No. 1:20-CV-3997-JPB-JSA, 2020 WL 13593895, at *2




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    (N.D. Ga. Oct. 9, 2020). 3 Rule 45 imposes on the subpoena’s issuer an affirmative

    duty to avoid imposing undue burden or expense on the non-party. See Fed. R. Civ.

    P. 45(d)(1).4 This duty reflects a balancing between the litigants’ need to obtain

    information from non-parties and the need to protect outsiders to the litigation from

    having to incurring undue burden and expense. Thus, on a timely motion, a court

    is required to quash a subpoena which “requires disclosure of privileged or other

    protected matter, if no exception or waiver applies” or which “subjects a person to

    undue burden.” Id. Rule 45(d)(3)(A)(iii)-(iv).

          With regard to Movants’ claim that Mr. Hess is a non-testifying expert who

    may not be deposed due to privilege, they contend that Rule 45 is informed by




          3
              Under Rule 26, a party is entitled to obtain discovery:

          Regarding any nonprivileged matter that is relevant to any party’s
          claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in
          controversy, the parties’ relative access to relevant information, the
          parties’ resources, the importance of the discovery in resolving the
          issues, and whether the burden or expense of the proposed discovery
          outweighs its likely benefit.

    Fed. R. Civ. P. 26(b)(1).
          4
            It is difficult to see Mr. Hess as an innocent bystander. He is employed by
    MAS and, according to Respondents, through MAS Dr. Longo has made millions
    of dollars testifying in asbestos cases.
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    provisions of Rule 26. (Movants’ Br. [1-1] 12.) This Rule provides in relevant

    part as follows:

          (D) Expert Employed Only for Trial Preparation. Ordinarily, a party
          may not, by interrogatories or deposition, discover facts known or
          opinions held by an expert who has been retained or specially
          employed by another party in anticipation of litigation or to prepare
          for trial and who is not expected to be called as a witness at trial. But
          a party may do so only:

                 ...

                 (ii) on showing exceptional circumstances under which it is
                 impracticable for the party to obtain facts or opinions on the
                 same subject by other means.

    Fed. R. Civ. P. 26(b)(4)(D)(ii).

          Upon review of the parties’ arguments, Mr. Gref retained MAS to provide

    product testing reports in addition to testifying expert services related to those

    reports. Mr. Hess performed the product testing and Dr. Longo testified about Mr.

    Hess’s testing. Given that situation, the Court agrees with Respondents that,

    whether the Court considers Mr. Hess a consulting expert employed only for trial

    preparation, a non-testifying consultant whose work was reviewed by a testifying

    expert, or simply a fact witness, exceptional circumstances exist to allow his

    deposition and the subpoena imposes no undue burden on him. Indeed, the




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    subpoena does not seek documents and requires only a one-day deposition that is

    limited to seven hours under the Federal Rules of Civil Procedure.

          The undersigned agrees with the decision of Cobb County Superior Court

    Judge Henry Thompson, who was presented with the same question raised here.

    He ordered Mr. Hess to testify about his testing. See Materials Analytical Service,

    LLC v. Johnson & Johnson, et al. as it relates to Matthew Streck, et al. v. Johnson

    & Johnson, et al., Civ. No. 23106785 (Cobb Cnty. Supr. Ct. Oct. 20, 2023). Judge

    Thompson found:

          that the subpoena for the deposition of Mr. Hess seeks discovery of
          information that is relevant to the issues in the Kentucky action
          concerning the testing of Gold Bond and other talc products at issue.
          The Court further finds that the subpoena is not unreasonable,
          oppressive or duly burdensome to MAS or Mr. Hess.

    (Resp.’s Ex. U [6-23] 3.)

          The same is true here. The subpoena for the deposition of Mr. Hess seeks

    discovery of information that is relevant to the issues in the underlying New York

    action concerning the testing of Clubman talcum powder. The Court further finds

    that the subpoena is not unreasonable, oppressive, or duly burdensome to MAS or

    Mr. Hess. Therefore, it should be enforced.




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    III.   CONCLUSION

           For the reasons stated above, the Court DENIES the Motions to Quash and

    for Protective Order [1] and DIRECTS the parties to cooperate in setting a date

    and time for Mr. Hess’s deposition within the next thirty (30) days. If objections

    are filed with the presiding District Judge, then the deposition is stayed until those

    objections are resolved. If no objections are filed within seventeen (17) days of the

    date of this Order, then the Clerk is DIRECTED to CLOSE this case. See 28

    U.S.C. § 636(b)(1) (permitting parties to file written objections within fourteen

    days); Fed. R. Civ. P. 6(d) (adding three days to service period).

           SO ORDERED, this 3rd day of June, 2024.



                                __________________________
                                WALTER E. JOHNSON
                                UNITED STATES MAGISTRATE JUDGE




                                            8
